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                       UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF CALIFORNIA
                          SAN FRANCISCO DIVISION



 UNITED STATES OF AMERICA

              Plaintiff,                     NO. CR 05-0375 SI

        v.                                   STIPULATION AND [PROPOSED]
                                             TRAVEL ORDER
 BRIAN LY, et al.,

           Defendants.
 _________________________________/


        THE UNDERSIGNED PARTIES HEREBY STIPULATE and agree that

 defendant Brian Ly may travel outside the Northern District of

 California, from March 30, 2006 through April 6, 2006, to Oahu,

 Hawaii.     Prior to travel, defendant Brian Ly agrees to provide

 Pretrial Services with his itinerary and contact information,

 including, the address where he will be staying and a telephone

 number where he can be reached.        Brian Ly agrees that he will
 have no contact with any witnesses in the case while he is in

 Hawaii, including D.J. Heu.

        Pretrial Services Officer Betty Kim advised that she has

 no objection to the requested travel plans, under the conditions

 proposed herein.

 /S/JAMES BUSTAMANTE                   /S/ANDREW M. SCOBLE
 JAMES BUSTAMANTE                      ANDREW M. SCOBLE
 Attorney for Defendant LY             Assistant U.S. Attorney
 Dated: March 9, 2006                  Dated: March 10, 2006

        IT IS SO ORDERED.
        Dated:
                                       HONORABLE NANDOR J. VADAS
                                       U.S. Magistrate Judge
